                           UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA

GENTEX CORPORATION, a Delaware                       )
corporation                                          )
                                                     )
                    Plaintiff,                       )
     vs.                                             )
                                                     ) CASE NO.: 20-CV-00632-HB
                                                     )
SUPERIOR MOLD COMPANY, INC., a                       )
California corporation,                              )
                                                     )
                     Defendant.                      )
                                                     )
                                                     )

                   DEFENDANT SUPERIOR MOLD COMPANY, INC.’S
                   ANSWER TO COMPLAINT WITH COUNTERCLAIM

       Defendant Superior Mold Company, Inc. (“Defendant”) hereby answers the Complaint

filed by Plaintiff Gentex Corporation, as follows:

       1.      Defendant is without sufficient information or knowledge at the present time to

admit or deny the allegation and, on that basis, expressly denies the allegations set forth in

Paragraph 1 of the Complaint.

       2.      Defendant admits the allegations stated in Paragraph 2 of the Complaint.

                                  JURISDICTION AND VENUE

       3.      Defendant admits the allegations stated in Paragraph 3 of the Complaint.

       4.      Defendant denies the allegations in Paragraph 4, including as a conclusion of law

to which no response is required and attempts to characterize writings that speak for themselves.

                                  FACTUAL BACKGROUND

       5.      Defendant admits the allegations stated in Paragraph 5 of the Complaint.

       6.      Defendant admits the allegations stated in Paragraph 6 of the Complaint.




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        7.      Defendant admits that the offer to purchase and agreement to supply the R2

Receivers are documented in purchase orders and accompanying terms and conditions as stated

in Paragraph 7 of the Complaint, but deny those are the only documents that constitute the

agreement between the parties.

        8.      Defendant denies the allegations in Paragraph 8 of the Complaint, including as a

conclusion of law to which no response is required.

        9.      Defendant is without sufficient information or knowledge at the present time to

admit or deny the allegation and, on that basis, expressly denies the allegations set forth in

Paragraph 9 of the Complaint.

        10.     Defendant denies the allegations stated in Paragraph 10 of the Complaint,

including as a conclusion of law to which no response is required and attempts to characterize a

writing that speak for itself.

        11.     Defendant denies the allegations stated in Paragraph 11 of the Complaint,

including as a conclusion of law to which no response is required and attempts to characterize a

writing that speak for itself.

        12.     Defendant denies the allegations stated in Paragraph 12 of the Complaint,

including as a conclusion of law to which no response is required and attempts to characterize a

writing that speak for itself.

        13.     Defendant denies the allegations stated in Paragraph 13 of the Complaint,

including as a conclusion of law to which no response is required and attempts to characterize a

writing that speak for itself.




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        14.     Defendant denies the allegations stated in Paragraph 14 of the Complaint,

including as a conclusion of law to which no response is required and attempts to characterize a

writing that speak for itself.

        15.     Defendant denies the allegations stated in Paragraph 15 of the Complaint,

including as a conclusion of law to which no response is required and attempts to characterize a

writing that speak for itself.

        16.     Defendant denies the allegations stated in Paragraph 16 of the Complaint,

including as a conclusion of law to which no response.

        17.     Defendant denies the allegations stated in Paragraph 17 of the Complaint.

        18.     Defendant denies the allegations stated in Paragraph 18 of the Complaint.

        19.     Defendant denies the allegations stated in Paragraph 19 of the Complaint.

        20.     Defendant is without sufficient information or knowledge at the present time to

admit or deny the allegation and, on that basis, expressly denies the allegations set forth in

Paragraph 20 of the Complaint.

        21.     Defendant denies the allegations stated in Paragraph 21 of the Complaint.

                                        COUNT I
                                   BREACH OF CONTRACT

        22.     Defendant reincorporate and re-alleges its answers to Paragraphs 1 through 21 as

though fully set forth herein.

        23.     Defendant denies the allegations stated in Paragraph 23 of the Complaint,

including as a conclusion of law to which no response is required and attempts to characterize a

writing that speak for itself.




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        24.     Defendant denies the allegations stated in Paragraph 24 of the Complaint,

including as a conclusion of law to which no response is required and attempts to characterize a

writing that speak for itself.

        25.     Defendant denies the allegations stated in Paragraph 25 of the Complaint,

including as a conclusion of law to which no response.

        26.     Defendant denies the allegations stated in Paragraph 26 of the Complaint,

including as a conclusion of law to which no response is required.

                                           COUNT II
                                            FRAUD

        27.     This Count has been dismissed and thus no answer is required.

        28.     This Count has been dismissed and thus no answer is required.

        29.     This Count has been dismissed and thus no answer is required.

        30.     This Count has been dismissed and thus no answer is required.

        31.     This Count has been dismissed and thus no answer is required.

        32.     This Count has been dismissed and thus no answer is required.

        33.     This Count has been dismissed and thus no answer is required.

        34.     This Count has been dismissed and thus no answer is required.

                                       COUNT III
                             NEGLIGENT MISREPRESENTATION

        35.     This Count has been dismissed and thus no answer is required.

        36.     This Count has been dismissed and thus no answer is required.

        37.     This Count has been dismissed and thus no answer is required.

        38.     This Count has been dismissed and thus no answer is required.

        39.     This Count has been dismissed and thus no answer is required.




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       40.     This Count has been dismissed and thus no answer is required.

                                  AFFIRMATIVE DEFENSES

       FURTHER, AS SEPARATE AFFIRMATIVE DEFENSES to each and every claim for

relief, Defendant is informed and believes and, based thereon, alleges as follows:

                              FIRST AFFIRMATIVE DEFENSE
                                        (Novation)

       As a first and separate affirmative defense this answering Defendant alleges that the

Plaintiff’s cause of action for Breach of Contract fails because the parties entered into a novation

whereby all prior agreements between the parties were extinguished and replaced with a new

agreement.

                             SECOND AFFIRMATIVE DEFENSE
                                       (Laches)

       As a second affirmative defense this answering Defendant alleges that the Complaint, and

each and every cause of action asserted therein, is barred by the doctrine of laches.

                              THIRD AFFIRMATIVE DEFENSE
                                       (Estoppel)

       As a third and separate affirmative defense this answering Defendant alleges that claims

alleged in the Complaint, and each and every claim therein, if any there are, are barred by the

doctrine of estoppel.

                            FOURTH AFFIRMATIVE DEFENSE
                                (Accord and Satisfaction)

       As a fourth and separate affirmative defense this answering Defendant alleges that claims

alleged in the Complaint fail because the parties entered into an accord and satisfaction of all

contract claims.




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                                 FIFTH AFFIRMATIVE DEFENSE
                                           (Consent)

        Defendant is informed and believe and based thereon allege that Plaintiff is barred from

recovering on the causes of action asserted herein because Plaintiff specifically consented to and

requested that Defendant perform the actions alleged herein.

                                 SIXTH AFFIRMATIVE DEFENSE
                                     (Complete Performance)

        Defendant is informed and believes and based thereon alleges that it has appropriately,

completely, and fully performed and discharged any and all obligations and legal duties arising

out of the matters alleged in the Complaint.

                               SEVENTH AFFIRMATIVE DEFENSE
                                    (Failure of Consideration)

        Plaintiff’s complaint and each and every purported cause of action therein is barred due

to a failure of consideration on the contract sued upon herein.

                                EIGHTH AFFIRMATIVE DEFENSE
                                     (Condition Precedent)

        Defendant is informed and believes and based thereon alleges that performance by

Defendant of certain acts was contingent upon receipt of specific instructions or otherwise

properly directed any which supposedly was to be undertaken by Defendant, thus Plaintiff’s

authority, direction and cooperation was a condition precedent to any alleged obligation by

Defendant to perform such acts.

                                NINTH AFFIRMATIVE DEFENSE
                           (Substantial or Partial Performance/Divisibility)

        Defendant is informed and believes and based thereon alleges that the contracts alleged in

the Complaint, if any, have been substantially and/or partially performed, and as such, are

subject to divisibility.



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                              TENTH AFFIRMATIVE DEFENSE
                                  (Assumption of the Risk)

       Defendant is informed and believes and based thereon alleges that if there presently

exists or ever existed, any or all of the alleged rights, claims, or obligations which Plaintiff seeks

by way of its Complaint, said claims or obligations are unenforceable by reason of the fact that

plaintiff assumed the risk involved in the transaction.

                           ELEVENTH AFFIRMATIVE DEFENSE
                             (Failure of Performance by Plaintiff)

       Defendant is informed and believes and based thereon alleges that if Defendant failed to

perform any oral or written promise, covenant or condition, its failure of performance was

caused, and continues to be caused, by the acts and omissions of Plaintiff, and that Plaintiff is

estopped to deny otherwise.

                            TWELFTH AFFIRMATIVE DEFENSE
                               (Impossibility of Performance)

       Defendant is informed and believes and based thereon alleges that recovery in this action

is barred and that Defendant’s performance on the purported contract is therefore excused by

impossibility of performance of the purpose for which the purported contract was made.

                          THIRTEENTH AFFIRMATIVE DEFENSE
                                      (Set Off)

       Defendant is informed and believes and based thereon alleges that any recovery in this

action is diminished in whole or in part based on an amount owed to the Defendant.

                                     PRAYER FOR RELIEF

       WHEREFORE, Defendant Superior Mold Company prays for judgment and relief as

follows:




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       1.      That Plaintiff take nothing by way of the Complaint and each Claim for Relief

               asserted therein;

       2.      For costs of suit and attorneys’fees as allowed by law; and

       3.      For such other and further relief as the Court deems fair and equitable.



               COUNTERCLAIMS OF SUPERIOR MOLD COMPANY, INC.

       Defendant/Counterclaim Plaintiff Superior Mold Company, Inc. a California corporation,

(“Superior”) alleges as follows:

                                             PARTIES

       1.      Defendant/Counterclaim Plaintiff Superior is, and at all times relevant to this

action was, a California corporation with its principal place of business at 3122 South Maple

Street, Santa Ana, California 92707.

       2.      Plaintiff/Counterclaim Defendant Gentex Corporation, is a Delaware corporation

registered, domesticated, and authorized to do business under the General Corporation law of the

State of California, with its principal place of business in the State of California located at 9859

7th Street, Rancho Cucamonga, California 91730.

                     FACTS COMMON TO ALL CAUSES OF ACTION

       3.      Superior is a manufacturer of injection molded products primarily in the

communications, medical, defense and aerospace, industrial and semiconductor, multimedia,

automotive, commercial, and clean technology sectors.

       4.      Beginning in 2014, Gentex and Superior entered into multiple agreements related

to Superior molding parts for flight helmets for Gentex. All parts were to be built using molds

created by Gentex’engineers.




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      5.      One of the flight helmet parts Gentex Requested from Superior was a rotatable

receiver base used to connect an oxygen mask to a flight helmet, referred to simply as an R2

receiver base and cover.

      6.      Beginning in 2015, the R2 base was exhibiting failure due to cracking while being

attached to the helmet. Based on this, Gentex made multiple revisions to the design and molding

process in order to eliminate the failure due to cracking. None of Gentex’proposed changes in

design eliminated the part’s failure due to cracking.

      7.      In late January 2019, Gentex proposed completely reworking the mold for the R2

Receiver. Gentex engineers met with Superior in February 2019 in order to tour Superior’s

facilities. As a result of that tour, Gentex requested that Superior assist in creating a new design

and mold for the R2 base.

      8.      At Gentex’request, based on Superior’s experience in injection molding, and in

anticipation of Gentex’s representation that once a correction to the mold design and mold

process eliminated the part failure, Superior would be permitted to continue molding this

specific part for Gentex, Superior made specific recommendations regarding the molding

process and design of the R2 receiver. These recommendations were novel and concrete and

were based on Superior’s unique knowledge of the injectable mold process. At the same time,

Superior provided Gentex with a quote to build the suggested new mold based on the proposed

design modifications.

      9.      On or around May 21, 2019, Gentex agreed to a novation of the prior agreements.

As part of that novation, Gentex agreed it would continue to order and purchase non-R2

receiver parts. Gentex would pay for 50% of outstanding invoices for R2 receiver parts already




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produced. They further agreed they would conduct a joint meeting in order to determine the root

cause of the failure of the R2 part.

      10.      Over the next few months, Gentex continued to issue purchase orders to Superior

for special order parts. In order to fill these open purchase orders, Superior ordered special and

unique material that could only be used to manufacture the special orders parts requested by

Gentex. Superior would not have ordered said materials for any other projects but for the need

for the materials to fulfill Gentex’s orders.

      11.      On or about September 12, 2019, Gentex made arrangements to pick up all of

their molds from Superior. On or about September 16, 2019, Gentex picked up all of its molds.

      12.      At the time Gentex picked up all of its molds from Superior, it had 17 open

purchase orders with Superior for specially manufactured parts. The value of those 17 open

purchase orders was at least $46,424.49.

      13.      Gentex had not cancelled the 17 open purchase order prior to the time it picked up

its molds.

      14.      In reliance on the agreement between the parties and in an effort to satisfy its

obligations to Gentex for filling the 17 open purchase orders, Superior ordered at least

$25,410.00 in special plastics weighing 1,540 pounds. This material is unique and is being

stored by Superior but Superior has no use for these special plastics.

      15.      Superior is informed and believes that Gentex has taken Superior’s proposed

mold design modifications, which is its intellectual property, and has misappropriated that

intellectual property in order to create the mold and produce the R2 receivers with Superior’s

competitors.




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                                     CAUSES OF ACTION

                                  FIRST CAUSE OF ACTION
                                      Breach of Contract

       16.     Defendant/Counterclaim Plaintiff repeats and reincorporates by reference

Paragraphs 1 through 15, inclusive, as though fully set forth herein.

       17.     As set forth in further detail in the Facts Common to All Causes of Action, in

May 2019, Gentex had agreed to continue to order non-R2 parts from Superior if Superior

assisted Gentex in determining the root cause of the R2 part failure.

       18.     In reliance on the bargain agreed to between the parties, Superior immediately

initiated a process to manufacture those parts using the molds supplied by Gentex. Superior

ordered special and unique material that could only be used to manufacture the special orders

parts requested by Gentex. Superior would not have ordered said materials for any other

projects but for the need for the materials to fulfill Gentex’s orders.

       19.     Additionally, in reliance on this agreement, Superior provided Gentex access to

Superior’s intellectual property; specifically, Superior indicated specific, novel and unique

procedures in the molding process that could eliminate the failure of the R2 process. Thus,

Superior fulfilled all conditions of the agreement between the parties.

       20.     However, on or about September 12, 2019, Gentex made arrangements to pick up

all of their molds from Superior. On or about September 16, 2019, Gentex picked up all of its

molds. At the time Gentex picked up all of its molds from Superior, it still had 17 open purchase

orders with Superior for specially manufactured parts. The value of those 17 open purchase

orders was at least $46,424.49.

       21.     Gentex had not cancelled the 17 open purchase order prior to the time it picked up

its molds.



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       22.     In reliance on the agreement between the parties and in an effort to satisfy its

obligations to Gentex for filling the 17 open purchase orders, Superior ordered at least

$25,410.00 in special plastics weighing 1,540 pounds. This material is unique and is being

stored by Superior but Superior has no use for these special plastics.

       23.     Despite making written demand therefor, Gentex has failed and refused to pay for

the materials ordered by Superior at its request.

       24.     Notwithstanding these obligations, Gentex now stands in breach of the agreement

Superior by having failed and refused to remit payment on the outstanding invoices and by

causing Superior to invest out of pocket costs for purchase of materials solely and specifically to

be used for Gentex’s products.

       25.     As a direct and proximate result of Gentex’s breach of contract, Superior has been

damaged in a sum no less than $71,834.29.

                                 SECOND CAUSE OF ACTION
                                     Promissory Estoppel

       26.     Defendant/Counterclaim Plaintiff repeats and reincorporates by reference

Paragraphs 1 through 25, inclusive, as though fully set forth herein.

       27.      As set forth in detail in this counterclaim, Superior and Gentex had a clear and

unambiguous promise to each other based on the agreement and understanding of the parties

with respect to Gentex’s provision of molds to Superior for Superior to then produce goods for

Gentex pursuant to the purchase orders issued to Superior by Gentex.

       28.     Superior fully conducted itself in justifiable reliance on the agreement and

understanding between itself and Gentex in regards to obtaining specialized materials requested

by Gentex for which Superior has no other use or ability to recoup such cost. Moreover,

Superior’s justifiable reliance occurred with respect to significant investment of man-hours and



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resources to developing and producing the products required of Gentex to satisfy the purchase

orders.

          29.   Additionally, in reliance on Gentex’s representation of continuing to satisfy

purchase orders, Superior allowed Gentex access to Superior’s intellectual property.

          30.   Moreover, by the end of November 2019, Gentex had 17 open purchase orders

issued to Superior for Superior to manufacture special order parts for Gentex.

          31.   However, on or about September 12, 2019, Gentex made arrangements to pick up

all of their molds from Superior. On or about September 16, 2019, Gentex picked up all of its

molds.

          32.   At the time Gentex picked up all of its molds from Superior, it had 17 open

purchase orders with Superior for specially manufactured parts. The value of those 17 open

purchase orders was at least $46,424.49.

          33.   Gentex had not cancelled the 17 open purchase orders prior to the time it picked

up its molds.

          34.   Superior’s reliance on the agreement between the parties was both justifiable and

reasonably foreseeable based upon the actual conduct of the parties and based upon the

continuing efforts of the parties to resolve Gentex’s mold problems with revisions and

continuing assertions of fact by Gentex representatives for Superior to continue working on

fulfilling the outstanding, and un-canceled, purchase orders.

          35.   Defendant/Counterclaim Plaintiff has been damaged by its justifiable and

reasonably foreseeable reliance on Gentex’s promise and agreement between the parties and the

subsequent outstanding, un-canceled, purchase orders, which detrimental reliance is estimated to

be at least $71,834.29.




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                                 THIRD CAUSE OF ACTION
                                     Unjust Enrichment

       36.     Defendant/Counterclaim Plaintiff repeats and reincorporates by reference

Paragraphs 1 through 46, inclusive, as though fully set forth herein.

       37.      As set forth herein-above, Defendant Gentex is in receipt of a benefit to which it

has no entitlement based upon the following facts.

       38.      Notwithstanding demands that have been made by Superior to Gentex

representatives, Defendant Gentex has failed and/or refused to make such remittance to Superior.

       39.      Gentex’s receipt and retention of that benefit is unjust and is at the expense of

Superior’s rights because of the written agreement between the parties and the subsequent

purchase orders issued to Superior by Gentex.

       40.      As a proximate result of Gentex’s unjust enrichment, Superior has been damaged

and will continue to suffer damage in an amount of at least $71,834.29.

                               FOURTH CAUSE OF ACTION
                           Misappropriation of Intellectual Property

       41.     Defendant/Counterclaim Plaintiff repeats and reincorporates by reference

Paragraphs 1 through 40, inclusive, as though fully set forth herein.

       42.     Superior through its years’experience in the field of injectable molds has

knowledge regarding the molding process that derives its value from not being generally known

to the general public.

       43.     For over four years, Gentex was unable to solve the problem of the failure and

cracking of the R2 receiver, based on Gentex’designs and molds. Accordingly, Gentex requested

Superior provide Gentex access to Superior’s facility and intellectual property in an attempt to




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find a solution to the R2 failure. Gentex promised that Superior would manufacture the R2 part if

a solution to the cracking could be found and a new mold was made.

       44.     In reliance on Gentex’promise, Superior shared its intellectual property with

Gentex. Specifically, Superior recommended 4 specific, novel design modifications to the

tooling process that would eliminate failure due to cracking.

       45.     Upon receiving Superior’s intellectual property, Gentex removed all business

from Superior. Superior is informed and believes and based thereon alleges that Gentex has

taken Superior’s intellectual property and has shared this property with Superior’s competition,

to Superior’s detriment.

       46.     As a result of Gentex’misappropriation of Superior’s intellectual property,

Superior has been damaged in lost profits and business opportunities in an amount to be

determined at trial.

                                FIFTH CAUSE OF ACTION
                            Quantum Meruit for Services Rendered

       47.     Defendant/Counterclaim Plaintiff repeats and reincorporates by reference

Paragraphs 1 through 46, inclusive, as though fully set forth herein.

       48.     Within the last three years, Superior has provided Gentex, at its special instance

and request, with services as provided in the agreement between the parties. Superior has also

provided Gentex with access to intellectual property, including expert recommendations

regarding design to avoid failure of the R2 part.

       49.     The unpaid value of those services to Gentex is at least $71,834.27 and continues

to be unpaid despite Superior’s repeated requests for payment for the services rendered to

Gentex.




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                                       PRAYER FOR RELIEF

        WHEREFORE, Defendant/Counterclaim Plaintiff Superior Mold Company, Inc. prays

for relief as follows:

        1.      For special damages in an amount no less than $71,834.27 plus accrued interest

according to proof at time of trial;

        2.      For pre-judgment interest from and after the due date;

        3.      For all other incidental damages;

        4.      For the value of Defendant/Counterclaim Plaintiff’s justifiable and reasonably

foreseeable reliance on Plaintiff/Counterclaim Defendant’s promises as alleged in this

Complaint, which is estimated to be at least $71,834.27;

        5.      For the reasonable value of the services rendered from Defendant/Counterclaim

Plaintiff to Plaintiff/Counterclaim Defendant;

        6.      For the profits lost by Defendant/Counterclaim Plaintiff as a result of

Plaintiff/Counterclaim Defendant’s misappropriation of the Defendant/Counterclaim Plaintiff’s

intellectual property.

        7.      For such other, further, and different relief as the Court deems just and proper.


                                              /s/ Colin J. O’Boyle
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                          Superior Mold Company, Inc.
Dated: October 13, 2020




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